Case: 1:20-cv-03416 Document #: 10-2 Filed: 06/12/20 Page 1 of 1 PagelD #:67
Certificate of Registration

This Certificate issued under the seal of the Copyright

Office in accordance with title 17, United States Code,

attests that registration has been made for the work

identified below. The information on this certificate has

been made a part of the Copyright Office records. Registration Number

x LD VA 2-031-727
| el A, Effective Date of Registration:
March 02, 2017

Acting United States Register of Copyrights and Director

 

Title

 

Title of Work: Piske & Usagi

 

Completion/Publication
Year of Completion: 2015

Date of Ist Publication: March 13, 2015
Nation of 1* Publication: Japan

Author

 

° Pseudonym: — kanahei
Author Created: 2-D artwork
Citizen of: Japan
Year Born: 1985
Pseudonymous: Yes

Copyright Claimant

 

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Certification

 

Name: Jeffrey H. Greger
Date: March 02, 2017
Applicant's Tracking Number: 4749-C121

 

Correspondence: ‘Yes

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